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                                     7048



                               EXIBIT #2
                            CASE #22-CV-02234

                            Plaintiff Consent Forms
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                                        7052

                              CONSENT FORM
            UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                  Women of Color For Equal Justice v. New York City et. al

                                       22-CV-02234


                  Sancha Browne
 I, _________________________________________, (print your name) confirm that I consented
 to being named in the above referenced case. I want to continue to be named in the case
 including in the Motion for Recusal of Judge Komitee due to his failure to disclose at the
 beginning of the above referenced case his prior role in the financing of the Moderna mRNA
 vaccine, his financial interest in Moderna and his secrete knowledge about the Moderna
 vaccine, which was one of the vaccines I refused to take under the City of New York’s
 Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
 with the Moderna vaccine company, I would have demanded that he be removed from this
 case. I also consent to the appeal of this case to the Second Circuit Court of Appeals.




       11/302024
 Date: ____________________                      _______________________________________

                                                               Signature
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                                     7053
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                             CONSENT FORM
           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

                                       22-CV-02234



     Maria Estrada
I, _________________________________________,    (print your name) confirm that I consented
to being named in the above referenced case. I want to continue to be named in the case
including in the Motion for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the financing of the Moderna mRNA
vaccine, his financial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna vaccine company, I would have demanded that he be removed from this
case. I also consent to the appeal of this case to the Second Circuit Court of Appeals.




      December 9, 2024
Date: ____________________                       _______________________________________

                                                               Signature
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                             CONSENT FORM
           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

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I, _________________________________________, (print your name) conﬁrm that I consented
    Maria Figaro
to being named in the above referenced case. I want to continue to be named in the case
including in the Moton for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the ﬁnancing of the Moderna mRNA
vaccine, his ﬁnancial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna company vaccine, I would have demanded that he be removed from this
case. I also consent to the appeal of this of this case to the Second Circuit Court of
Appeals.




Date: ____________________                      _______________________________________
       11/20/2024
                                                              Signature
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           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                  Women of Color For Equal Justice v. New York City et. al

                                       22-CV-02234


I, ___Julia Harding________________________________, (print your name) confirm that I
consented to being named in the above referenced case. I want to continue to be named
in the case including in the Moton for Recusal of Judge Komitee due to his failure to
disclose at the beginning of the above referenced case his prior role in the financing of the
Moderna mRNA vaccine, his financial interest in Moderna and his secrete knowledge
about the Moderna vaccine, which was one of the vaccines I refused to take under the City
of New York’s Vaccine Mandate issued in September 2021. Had I known that Judge
Komitee had any ties with the Moderna company vaccine, I would have demanded that he
be removed from this case. I also consent to the appeal of this of this case to the Second
Circuit Court of Appeals.




Date: __11/21/2024__________________              _______________________________________
                                                       ____________________

                                                                Signature
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           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

                                      22-CV-02234



I, _________________________________________, (print your name) conﬁrm that I consented
    Sean Milan
to being named in the above referenced case. I want to continue to be named in the case
including in the Moton for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the ﬁnancing of the Moderna mRNA
vaccine, his ﬁnancial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna company vaccine, I would have demanded that he be removed from this
case. I also consent to the appeal of this of this case to the Second Circuit Court of
Appeals.




Date: ____________________                      _______________________________________
       11-21-2024
                                                              Signature
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                              CONSENT FORM
            UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK
                  Women of Color for Equal Justice v. New York City et. al
                                       22-CV-02234


        Chrston Mucllo                                  (print your name) confirm
    that Iconsented to being named in the above referenced case. Il have retained the
    Women of Color For Equal Justice and Iwant to continue to be named in the case
    including in the Motion for Recusal of Judge Komitee due to his failure to disclose
    at the beginning of the above referenced case his prior role in the financing of the
    Moderna mRNA vaccine, his financial interest in Moderna and his secret knowledge
    about the Moderna vaccine, which was one of the vaccines I refused to take under
    the City of New York's Vaccine Mandate issued inSeptember 2021. HadIknown
    that Judge Komitee had any ties with the Moderna company vaccine, Iwould have
    demanded that he be removed from this case. Ialso consent to the appeal of this
    case to the Second Circuit Court of Appeals.



    Date:

                                                   Signature
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                             CONSENT FORM
           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

                                      22-CV-02234



I, _________________________________________, (print your name) confirm that I consented
    Sally Mussafi
to being named in the above referenced case. I want to continue to be named in the case
including in the Moton for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the financing of the Moderna mRNA
vaccine, his financial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna company vaccine, I would have demanded that he be removed from this
case. I also consent to the appeal of this of this case to the Second Circuit Court of
Appeals.




Date: ____________________                      _______________________________________
       11/21/2024
                                                              Signature
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           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

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         Bruce Reid
I, _________________________________________, (print your name) conﬁrm that I consented
to being named in the above referenced case. I want to continue to be named in the case
including in the Moton for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the ﬁnancing of the Moderna mRNA
vaccine, his ﬁnancial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna company vaccine, I would have demanded that he be removed from this
case. I also consent to the appeal of this of this case to the Second Circuit Court of
Appeals.




Date: ____________________                      _______________________________________
       11-21-2024
                                                              Signature
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          Maritza Romero




       11/20/24
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                             CONSENT FORM
           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

                                      22-CV-02234



I, _________________________________________, (print your name) conﬁrm that I consented
    Bertram Scott
to being named in the above referenced case. I want to continue to be named in the case
including in the Moton for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the ﬁnancing of the Moderna mRNA
vaccine, his ﬁnancial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna company vaccine, I would have demanded that he be removed from this
case. I also consent to the appeal of this of this case to the Second Circuit Court of
Appeals.




Date: ____________________                      _______________________________________
       November 20,
       2024                                                   Signature
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                                                                          CamScanner
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                             CONSENT FORM
           UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

                 Women of Color For Equal Justice v. New York City et. al

                                       22-CV-02234



     Lyndsay Wanser
I, _________________________________________,    (print your name) confirm that I consented
to being named in the above referenced case. I want to continue to be named in the case
including in the Motion for Recusal of Judge Komitee due to his failure to disclose at the
beginning of the above referenced case his prior role in the financing of the Moderna mRNA
vaccine, his financial interest in Moderna and his secrete knowledge about the Moderna
vaccine, which was one of the vaccines I refused to take under the City of New York’s
Vaccine Mandate issued in September 2021. Had I known that Judge Komitee had any ties
with the Moderna vaccine company, I would have demanded that he be removed from this
case. I also consent to the appeal of this case to the Second Circuit Court of Appeals.




      12/9/24
Date: ____________________                       _______________________________________

                                                               Signature
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                           CONSENT FORM
        UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK

             Women of Color for Equal Justice v. New York City et. al

                                   22-CV-02234



        EVELYN ZAPATA               (print your name) confirm that I consented to

being named in the above referenced case and have a retainer agreement with the

Women of Color for Equal Justice to represent me in the above captioned case. I

also consent to the appeal of this case to the Second Circuit Court of Appeals.



Date: I@ 1 110 Pq

                                             Signature
